       Case: 5:23-cv-01205-JRA Doc #: 61 Filed: 10/15/24 1 of 3. PageID #: 378




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 JADA WALKER,                                    )
                                                 ) CASE NO.: 5:23-cv-01205
         Plaintiff,                              )
                                                 ) JUDGE JOHN R. ADAMS
 vs.                                             )
                                                 ) PARTIES’ JOINT STATUS REPORT
 CITY OF AKRON, et al.,                          )
                                                 )
         Defendants.                             )


        Counsel for the undersigned parties hereby file their Joint Status Report, pursuant to this
Court’s Order of January 31, 2024. (Doc. No. 32.) Since the filing of the Parties’ previous Joint
Status Report (Doc. No. 60 filed on September 5, 2024), the Parties have agreement on settlement
terms and are filing the necessary paperwork and processes to affect the settlement. It is the
Parties’ hopes to present the finalized settlement to the Court before the next status report.
DATED: October 15, 2024

                                              Respectfully submitted,

                                              s/Joe F. Fouche III
                                              Joe F. Fouche III (0103153)
                                              Robert F. DiCello (0072020)
                                              Kenneth P. Abbarno (0059791)
                                              Peter C. Soldato (0099356)
                                              Justin J. Hawal (0092294)
                                              Jordyn A. Parks (102573)

                                              DICELLO LEVITT LLP
                                              8160 Norton Parkway, Third Floor
                                              Mentor, Ohio 44060
                                              jfouche@dicellolevitt.com
                                              rfdicello@dicellolevitt.com
                                              kabbarno@dicellolevitt.com
                                              psoldato@dicellolevitt.com
                                              jhawal@dicellolevitt.com
                                              jparks@dicellolevitt.com

                                              Telephone:(440) 953-8888
Case: 5:23-cv-01205-JRA Doc #: 61 Filed: 10/15/24 2 of 3. PageID #: 379




                                Facsimile:(440) 953-9138

                                Counsel for Plaintiff




                                s/ John T. McLandrich
                                JOHN T. MCLANDRICH (0021494)
                                EDMOND Z. JABER (0096355)
                                MAZANEC, RASKIN & RYDER CO., L.P.A.
                                100 Franklin’s Row
                                34305 Solon Road
                                Cleveland, OH 44139
                                (440) 248-7906
                                (440) 248-8861 – Fax
                                jmclandrich@mrrlaw.com
                                ejaber@mrrlaw.com

                                JOHN CHRISTOPHER REECE (0042573)
                                Deputy Director of Law
                                KIRSTEN L. SMITH (0099074)
                                Assistant Directors of Law
                                161 S. High St., Suite 202
                                Akron, Ohio 44308
                                (330) 375-2030
                                (330) 375-2041 (fax)
                                jreece@akronohio.gov
                                klsmith@akronohio.gov

                                Counsel for Defendants City of Akron, Ohio, Mayor
                                Daniel Horrigan, Chief Stephen Mylett, Lt. Daniel
                                Marx, Sgt. Michael Pasternak, Sgt. Vincent
                                Tersigni, Det. Sgt. Michael Orrand, Sgt. Todd
                                Sinsley, and Officer-Shooter Nos. 1-8
      Case: 5:23-cv-01205-JRA Doc #: 61 Filed: 10/15/24 3 of 3. PageID #: 380




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2024, I caused the foregoing to be electronically filed
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to all counsel of record.




                                              s/ Joe F. Fouche III
                                              Joe F. Fouche III
